Case 9:17-mj-08268-DLB Document 43 Entered on FLSD Docket 05/07/2018 Page 1 of 2
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                                                                            MAt 2? 2213
                       U N ITED STAT ES D ISTR ICT C O U R T                GTEVE'N M LARtMORE
                                                                             CUERKub ols'   r.cr.
                       SO U TH ERN D ISTR IC T O F FLO R ID A                s,o.oF F't-â.-w. eB.


   U N ITED STAT ES O F A M ER ICA ,
                                                     N o.17-M J-08268-D LB
         V.


   ERIC SN YD ER ,and
   C H RISTO PH ER FU LLER ,
              D efendants.


                                        O R D ER


         U pon thisCourt'sconsideration ofthe parties'stipulation,hereby incorporated

   into thisO rder,and the Courtbeing otherw ise fully apprised ofthe circum stances,

         IT IS O R D ER ED thatthe prelim inary hearing shallbe continued untilJune

   8,2018.

         IT IS FUR TH ER O R D ER ED thatthetim e period from M ay 8,2018,to June

   8,2018,shallbe deem ed excludable delay under the provisions ofthe Speedy Trial

   Act,Title 18United StatesCode,Section 3161(h)(7).Theendsofjusticeoutweigh
   the interestsofthedefendantand thepublicin a speedy trialpursuantto 18 U.S.C.j

   3161(h)(7)forthefollowingreasons:
               The defendant is under investigation for conspiracy to com m it health

   carefraud,inviolationof18U.S.C.j 1349.
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         2.    Because ofthe factualand legalissues involved in this case,the parties

   respectfully subm itthat,due to the nature of the prosecution and the existence of

   novelquestionsoffactorlaw,the factsupon which the grandjury mustbase its
   determ ination are unusualorcom plex;and

         3.    The parties have been discussing potentialpre-indictm entresolution of

   thism atterpriorto this m otion,butw illbe unable to reach any resolution.

         4.    The A ssistantU nited States A ttorney prosecuting this case w illbe out

   ofthe country on vacation from M ay 16 - M ay 26,2018;and undersigned counsel

   w illbe on vacation from M ay 9 -M ay 16,and M ay 24 -June 4,2018,w hich creates

   contlicts w ith possible arraignm entdates.

         Accordingly,the Courtfinds thatthe ends ofjustice served by this delay
   outw eigh the interestsofthe defendantand ofthepublic in a speedy trialand thatthe

   tim e period betw een M ay 8,2018,through June 8,2018,isdeem ed excludable delay

   underthe Speedy TrialAct,18U.S.C.j 3161(h),and specitically by reason of 18
   U.S.C.jj3161(h)(7)(A),(B)(i),(B)(ii),(B)(iii),and (B)(iv),in computingthetime
   within w hich an inform ation orindictm entm ustbe filed.

         SO O R D ERE D .

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   Date:May/,2018                                U
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